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   9                         UNITED STATES DISTRICT COURT
  10                       CENTRAL DISTRICT OF CALIFORNIA
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  12    MICHAEL W. KESSLER,                    Case No. EDCV 21-01771 ODW (RAO)
  13                       Plaintiff,
  14          v.                               ORDER ACCEPTING FINDINGS,
                                               CONCLUSIONS, AND
  15    D. PETERSON, et al.,                   RECOMMENDATION OF UNITED
                                               STATES MAGISTRATE JUDGE [60]
  16                       Defendants.
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  18         Pursuant to 28 U.S.C. § 636, the Court has reviewed Plaintiff’s First Amended
  19   Complaint, Dkt. No. 11, Defendant Ashley Hood’s Motion to Dismiss (“Motion”),
  20   Dkt. No. 60, Plaintiff’s Opposition to the Motion, Dkt. No. 65, Defendant Hood’s
  21   Reply, Dkt. No. 66, the Interim Report and Recommendation of United States
  22   Magistrate Judge (“Interim Report”), Dkt. No. 69, Plaintiff’s Objections, Dkt. No.
  23   70, Defendant Hood’s Reply to Plaintiff’s Objections, Dkt. No. 71, and all other
  24   records and files herein. Further, the Court has made a de novo determination of
  25   those portions of the Interim Report to which objections have been made. The Court
  26   hereby accepts and adopts the findings, conclusions, and recommendations of the
  27   Magistrate Judge.
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   1         Accordingly, IT IS ORDERED that Defendant Hood’s Motion to Dismiss is
   2   GRANTED and Plaintiff’s claims against Defendant Hood are dismissed with
   3   prejudice and without leave to amend. The case is referred back to the Magistrate
   4   Judge for proceedings on the remaining claims and defendants.
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       DATED: _December 27, 2023            ___________________________________
                                            OTIS D. WRIGHT, II
   7                                        UNITED STATES DISTRICT JUDGE
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